












NUMBER 13-03-497-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


__________________________________________________________________


RAUL GONZALEZ REYNOSO,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.

__________________________________________________________________


On appeal from the 103rd District Court 


of Cameron County, Texas.


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MEMORANDUM OPINION



Before Justices Rodriguez, Castillo, and Garza


Opinion Per Curiam



	Appellant, RAUL GONZALEZ REYNOSO, attempted to perfect an appeal from
a judgment entered by the 103rd District Court of Cameron County, Texas.  Sentence
in this cause was imposed on May 19, 2003.  A timely motion for new trial was filed
on June 18, 2003.   The notice of appeal was due to be filed on August 18, 2003, but
was not filed until August 19, 2003.   Said notice of appeal is untimely filed.  

	Tex. R. App. P. 26.3 provides that the court of appeals may grant an extension
of time for filing notice of appeal if such notice is filed within  fifteen days of the last
day allowed and within the same period a motion is filed in the court of appeals
reasonably explaining the need for such extension.  Appellant failed to file his notice
of appeal and a motion requesting an extension of time within such period. 

	The Court, having considered the documents on file and appellant's failure to
timely perfect his appeal, is of the opinion that the appeal should be dismissed for
want of jurisdiction.  The appeal is hereby DISMISSED FOR WANT OF JURISDICTION.

							PER CURIAM

Do not publish.

Tex. R. App. P. 47.2(b).

Opinion delivered and filed this

the 6th day of November, 2003.


